







		NO. 12-08-00241-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




FRANCISCO JAVIER ESTRADA,§
	APPEAL FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS







MEMORANDUM OPINION 

PER CURIAM

Francisco Javier Estrada appeals his conviction for aggravated assault.  Appellant's counsel
has filed a brief asserting compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18
L. Ed. 2d 493 (1967) and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  We dismiss
Appellant's appeal. 


Background

Appellant was charged by indictment with aggravated assault.  The grand jury further alleged
that Appellant used a deadly weapon in the assault.  Appellant waived trial by jury, and he was found
guilty by the trial court following a bench trial.  The trial court assessed punishment at imprisonment
for eleven years.  This appeal followed. 


Analysis Pursuant to Anders v. California 

Appellant's counsel has filed a brief in compliance with Anders and Gainous.  Counsel states
that he has diligently reviewed the appellate record and that he is well acquainted with the facts of
this case.  In compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978), counsel's brief presents a thorough chronological summary of the procedural history of
the case and further states that counsel is unable to present any arguable issues for appeal.  We have
considered counsel's brief and have conducted our own independent review of the record.  See
Anders, 386 U.S. at 745, 87 S. Ct. at 1400; see also Penson v. Ohio, 488 U.S. 75, 80, 109 S. Ct. 346,
350, 102 L. Ed. 2d 300 (1988).  We have found no reversible error.  See Bledsoe v. State, 178
S.W.3d 824, 826-27 (Tex. Crim. App. 2005).


Conclusion 

As required, Appellant's counsel has moved for leave to withdraw.  See In re Schulman, 252
S.W.3d 403, 407 (Tex. Crim. App. 2008) (orig. proceeding); Stafford v. State, 813 S.W.2d 503, 511
(Tex. Crim. App. 1991).  We are in agreement with Appellant's counsel that this appeal is wholly
frivolous.  Accordingly, his motion for leave to withdraw is hereby granted, and we dismiss this
appeal.  See In re Schulman, 252 S.W.3d at 408-09 ("After the completion of these four steps, the
court of appeals will either agree that the appeal is wholly frivolous, grant the attorney's motion to
withdraw, and dismiss the appeal, or it will determine that there may be plausible grounds for
appeal."). 

Counsel has a duty, within five days of the date of this opinion, to send a copy of the opinion
and judgment to Appellant and advise him of his right to file a petition for discretionary review.  See
Tex. R. App. P.. 48.4; In re Schulman, 252 S.W.3d at 411 n.35.  Should Appellant wish to seek
further review of this case by the Texas Court of Criminal Appeals, he must either retain an attorney
to file a petition for discretionary review or he must file a pro se petition for discretionary review. 
See In re Schulman, 252 S.W.3d at 408 n.22.  Any petition for discretionary review must be filed
within thirty days following the date of this opinion or the date the last timely motion for rehearing
is overruled by this court.  See Tex. R. App. P.. 68.2.  Any petition for discretionary review must be
filed with this court, after which it will be forwarded to the Texas Court of Criminal Appeals along
with the rest of the filings in this case.  See Tex. R. App. P. 68.3.  Any petition for discretionary
review should comply with the requirements of Rule 68.4 of the Texas Rules of Appellate Procedure. 
See Tex. R. App. P. 68.4; In re Schulman, 252 S.W.3d at 408 n.22.

Opinion delivered June 30, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)


